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United Statés fy Airieriéa,; Staté of
‘Arizona; City of Prescott, Yavapai. -

| County, ‘Prescott: City. Court, Sheila Polk,
“Yavapai Courity Attorney ‘in her. official /,
Capacity, Jon Paladini, Prescott City.’
Attorney. in his: official capacity,. .Glenn.*'
‘Savona, Prescott. Deputy City Ritorney in in

lL his. official il capacity,

01." Case’3:16-cv'08079-SPL Document 3-1,: Filed 04/25/16 Page Lota.”

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“UNITED STATES DISTRICT COURT
oe DISTRICT OF ‘ARIZONA

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vs

Janis 5 Ktighn, Grego R Reigin

a 2 Plaintiffs,
VS G@ROPOSED) ORDER GRANTING.”
* PLAINTIFFS MOTIONS FOR. -

)_» PRELIMINARY INJUNCTIONS:

ye,

his official capacity, Andy Reinhardt,
City of Prescott Deputy, Police Chief in

Defendants .

fe

, Plaintif Jariis Keighn and Gregory RB. Kaighn’s Motions Fe or Preliminary Injinctions "

enjoining farther enforcement of various Federal and Arizona statutes as set forth i in the Vetified
Complain filed i in: this: ‘case having been fully brief by the parties and. duly considered by. the”
: ‘Court, the Court finds that plaintifi have met their burden of establishing their right to, ° :

preliininary injunctions.; Plaintistsare likely to prevail on ‘the merits and it is. very likely that ”

Court will find. the statutes at issue to be unconstitutional. Defendants are e enjoined ftom any .

farther enforcemeiit of the following statutes pending, final judgement i in this action:

I: Presidential Directive 51
2, The Nationat ‘Emeigencies Act
3. ‘The, Homeland Security Act

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Case 3:16-cv-08079-SPL_ Dociiment-3-1. Filed.04/25/16 Bage 2 of 2

) 4. The Patriot Act a
3. The Federal Reserve Act . Coen t .
6 ‘Arizonia Revised Statutes 16- 579, 16: 452, 16 166F, i- 10518, Atizona Constitution

| ticle 30, and Arizona Constitition ‘Article 2, Section 3

1 Pursuant ta the Voting Rights Act, the Court. appoints Federal Observers and

hereby enjoins the State, of Arizona from ‘splitting the ballot” and limiting the voting |

rights of citizens that have registered to vote using the F ederal Voter Registration forms:

The Court further orders that the Department of Ji ustice take jurisdiction over the entire ms

State. of Ariza elections process. v
J wea! oe
a Juidge of the District Court. =. --"*

